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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

THOMAS E. MAXWELL,

         Plaintiff,

   v.                                                         No. 2:18-cv-00824-KWR-SMV

RYAN D. MCCARTHY, in
His Official Capacity as
SECRETARY OF THE ARMY,

         Defendant.

                  ORDER GRANTING UNOPPOSED MOTION TO EXTEND
                          THE DEADLINE FOR DISCOVERY

         This matter comes before the court upon the Plaintiff’s Unopposed Motion to Extend the

Deadline for Discovery, filed October 30, 2020 (Doc. 68). The Court, having reviewed the motion

and being advised in the premises therein, finds that the Motion is well taken and will be granted.

         IT IS HEREBY ORDERED:

         1.      The deadline for discovery previously set for October 30, 2020 is extended to

December 15, 2020;

         2.      The deadline for discovery motions previously set for November 16, 2020 is

extended to December 31, 2020;

         3.      The deadline for pretrial motions unrelated to discovery previously set for

December 4, 2020 is extended to January 18, 2021;

         4.      The deadline for Plaintiff to submit the Pretrial Order to Defendant previously set

for January 29, 2021 is extended to March 15, 2021; and

         5.      The deadline for Defendant to submit the Pretrial Order to the Court previously

set for February 14, 2021 is extended to March 31, 2021.
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       IT IS SO ORDERED

                                           _________________________________________
                                           THE HONORABLE STEPHAN M. VIDMAR
                                           UNITED STATES MAGISTRATE JUDGE



Prepared and Submitted By:

CARRILLO LAW FIRM, P.C.

/s/ Steven E. Jones
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Approved By:

JOHN C. ANDERSON
United States Attorney

/s/ Erin E. Langenwalter via email 11/05/2020
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